                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )       Criminal No. 3:09-00099
                                                    )       Judge Trauger
                                                    )
[8] CALVIN ISAIAH PRICE                             )

                                           ORDER

       It is hereby ORDERED that a hearing on the Petition to Revoke Supervision (Docket

No. 778) shall be held on Friday, June 20, 2014, at 1:00 p.m.

       It is so ORDERED.

       ENTER this 12th day of June 2014.




                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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